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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO



 JOHANNA NEGRON ADAMES, et al.

          Plaintiffs

               v.                                          CIVIL NO. 21-1077 (WGY)

 DORADO HEALTH INC., et al.

         Defendants



         ANSWER TO THE FIRST AMENDED COMPLAINT (DKT. #63)

TO THE HONORABLE COURT:

       COMES NOW, co-defendant Bayamón Medical Center Corp. (the “Hospital” or

the “Appearing Party”) d/b/a the Bayamón Medical Center , appearing through its

undersigned attorneys and very respectfully, in answer to the First Amended Complaint

(Dkt.#63)(hereafter “Complaint”), alleges and prays as follows:


              JURISDICTIONAL ALLEGATIONS


       1. As to the allegations of Paragraph number 1 of the Complaint regarding the

          residency or domicile of parties other than the Appearing Party, such

          allegations do not require a responsive pleading from the Appearing Party

          since they are addressed to other parties. As to the allegations of Paragraph

          number 1 of the Complaint regarding jurisdictional matters such as subject

          matter jurisdiction and personal jurisdiction, these allegations do not require a

          responsive pleading from the Appearing Party since they refer to questions of

          law. Should a responsive answer be required to any of the allegations of

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     Paragraph number 1 of the Complaint, such allegations are denied.


  2. As to the allegations of Paragraph number 2 of the Complaint regarding

     proper venue, these allegations do not require a responsive pleading from the

     Appearing Party since they refer to a question of law. Should a responsive

     answer be required, such allegations are denied.

  3. As to the allegations of Paragraph number 3 of the Complaint regarding

     plaintiffs’ request for a jury trial, these allegations do not require a responsive

     pleading from the Appearing Party since they refer to a question of law.

     Should a responsive answer be required, such allegations are denied.

  4. As to the allegations of Paragraph number 4 of the Complaint regarding joint

     and several liability, these allegations do not require a responsive pleading

     from the Appearing Party since they refer to questions of law. Should a

     responsive answer be required, such allegations are denied.

  5. As to the allegations of Paragraph number 5 of the Complaint regarding the

     tolling of the statute of limitations, these allegations do not require a

     responsive pleading from the Appearing Party since they refer to questions of

     law. Should a responsive answer be required, such allegations are denied.


         THE PARTIES


  6. As to the allegations of Paragraph number 6 of the Complaint regarding

     factual information as to one of the plaintiffs, or damages allegedly suffered

     by one of the plaintiffs, such allegations do not require a responsive pleading

     from the Appearing Party since they are addressed to other parties and/or refer



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     to the identification of or alleged damages of one of the plaintiffs. As to the

     allegations of Paragraph number 6 of the Complaint regarding alleged

     negligent acts or omissions of co-defendants other than the Appearing Party,

     these allegations do not require a responsive pleading from the Appearing

     Party since they refer to questions of law. All allegations of fault or

     negligence alleged, directly or implied, against the Hospital in Paragraph 6 of

     the Complaint are hereby denied. Should a responsive answer be required to

     any of the allegations of Paragraph number 6 of the Complaint, such

     allegations are denied.

  7. As to the allegations of Paragraph number 7 of the Complaint regarding

     factual information as to one of the plaintiffs, or damages allegedly suffered

     by one of the plaintiffs, such allegations do not require a responsive pleading

     from the Appearing Party since they are addressed to other parties and/or refer

     to the identification of or alleged damages of one of the plaintiffs. As to the

     allegations of Paragraph number 7 of the Complaint regarding alleged

     negligent acts or omissions of co-defendants other than the Appearing Party,

     these allegations do not require a responsive pleading from the Appearing

     Party since they refer to questions of law. All allegations of fault or

     negligence alleged, directly or implied, against the Hospital in Paragraph 7 of

     the Complaint are hereby denied. Should a responsive answer be required to

     any of the allegations of Paragraph number 7 of the Complaint, such

     allegations are denied.

  8. As to the allegations of Paragraph number 8 of the Complaint regarding




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     factual information as to one of the plaintiffs, or damages allegedly suffered

     by one of the plaintiffs, such allegations do not require a responsive pleading

     from the Appearing Party since they are addressed to other parties and/or refer

     to the identification of or alleged damages of one of the plaintiffs. As to the

     allegations of Paragraph number 8 of the Complaint regarding alleged

     negligent acts or omissions of co-defendants other than the Appearing Party,

     these allegations do not require a responsive pleading from the Appearing

     Party since they refer to questions of law. All allegations of fault or

     negligence alleged, directly or implied, against the Hospital in Paragraph 8 of

     the Complaint are hereby denied. Should a responsive answer be required to

     any of the allegations of Paragraph number 8 of the Complaint, such

     allegations are denied.

  9. As to the allegations of Paragraph number 9 of the Complaint, it is admitted

     that the Appearing Party Bayamón Medical Center Corp. is a legal entity

     which is organized and which exists under the laws of the Commonwealth of

     Puerto Rico, which has its principal place of business in Puerto Rico, and

     which is the owner and/or operator of a hospital located in Bayamón, Puerto

     Rico on Highway 2 which does business as the Bayamón Medical Center. It is

     admitted that Johanna Negrón Adames was admitted to the Hospital on

     several occasions in 2019 and 2020. As to allegations regarding parties other

     than the Appearing Party, such allegations do not require a responsive

     pleading from the Appearing Party since they are addressed to other parties.

     As to the allegations of Paragraph number 9 of the Complaint regarding joint




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     liability, and vicarious liability, negligent acts and/or omissions, these

     allegations do not require a responsive pleading from the Appearing Party

     since they refer to questions of law. Should a responsive answer be required,

     such allegations are denied. All allegations of fault or negligence alleged,

     directly or implied, against the Hospital in Paragraph 9 of the Complaint are

     hereby denied. The remainder of the allegations of Paragraph number 9 of the

     Complaint are denied as drafted or are denied.

  10. The allegations of Paragraph number 10 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     other parties. Should a responsive answer be required, such allegations are

     denied.

  11. The allegations of Paragraph number 11 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     other parties. Should a responsive answer be required, such allegations are

     denied.

  12. The allegations of Paragraph number 12 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     another party. Should a responsive answer be required, such allegations are

     denied.

  13. The allegations of Paragraph number 13 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     another party. Should a responsive answer be required, such allegations are

     denied.




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  14. The allegations of Paragraph number 14 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     another party. Should a responsive answer be required, such allegations are

     denied.

  15. The allegations of Paragraph number 15 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     other fictitious parties and contain legal assumptions made by the plaintiffs

     regarding such fictitious parties which do not require a responsive pleading

     from the Appearing Party since they refer to questions of law. Should a

     responsive answer be required to any of the allegations of Paragraph number

     15 of the Complaint, such allegations are denied.

  16. The allegations of Paragraph number 16 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     other fictitious parties and contain legal assumptions made by the plaintiffs

     regarding such fictitious parties which do not require a responsive pleading

     from the Appearing Party since they refer to questions of law. Should a

     responsive answer be required to any of the allegations of Paragraph number

     16 of the Complaint, such allegations are denied.

  17. As to the allegations in the first sentence of Paragraph number 17 of the

     Complaint regarding joint and several liability, these allegations do not

     require a responsive pleading from the Appearing Party since they refer to

     questions of law. The allegations in the second sentence of Paragraph number

     17 of the Complaint do not require a responsive pleading from the Appearing




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     Party since they are addressed to other fictitious parties. Should a responsive

     answer be required to any of the allegations of Paragraph number 17 of the

     Complaint, such allegations are denied.


         THE RELEVANT FACTS


  18. The allegations of Paragraph number 18 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  19. The allegations of Paragraph number 19 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  20. As to the allegations in the second sentence of Paragraph number 20 of the

     Complaint regarding claiming a procedure was below the standards of medical

     practice, these allegations do not require a responsive pleading from the

     Appearing Party since they refer to questions of law. The remainder of the

     allegations of Paragraph number 20 of the Complaint are neither denied, nor

     admitted, for lack of specific knowledge and information sufficient to form a

     belief about the truth of all the matters pled therein. Notwithstanding the

     foregoing allegation, it is accepted that Ms. Johanna Negrón Adames

     (“Patient”) was admitted to the Hospital on October 14, 2019, referred by and

     under the care of, her private physician Dr. Edwin Báez Montalvo (“Dr.

     Báez”), and that the Patient was discharged from the Hospital on October 16,

     2019, and it is alleged in the affirmative that any and all medical care and

     treatments afforded by the Hospital’s personnel and/or by the different


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     physicians that intervened with the Patient, while she was hospitalized at the

     Hospital, are duly described and documented in the Patient’s medical record

     with the Hospital (“Patients’ Medical Record”).

  21. The allegations of Paragraph number 21 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein. Notwithstanding

     the foregoing allegation, it is accepted that the Patient was discharged from

     the Hospital on October 16, 2019 by her private physician Dr. Baez.

  22. The allegations of Paragraph number 22 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  23. The allegations of Paragraph number 23 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  24. The allegations of Paragraph number 24 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  25. The allegations of Paragraph number 25 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  26. The allegations of Paragraph number 26 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.




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  27. The allegations of Paragraph number 27 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein and/or are denied

     as drafted. Notwithstanding the foregoing allegation, it is accepted that Patient

     was admitted to the Hospital on November 9, 2019, and it is alleged in the

     affirmative that any and all medical care and treatments afforded by the

     Hospital’s personnel and/or by the different physicians that intervened with

     the Patient, while she was hospitalized at the Hospital, are duly described and

     documented in the Patient’s Medical Record.

  28. As to any allegations of Paragraph number 28 of the Complaint which are

     addressed to another party, such allegations do not require a responsive

     pleading from the Appearing Party. The remainder of the allegations of

     Paragraph number 28 of the Complaint are neither denied, nor admitted, for

     lack of specific knowledge and information sufficient to form a belief about

     the truth of all the matters pled therein and/or are denied as drafted.

     Notwithstanding the foregoing allegation, it is alleged in the affirmative that

     regarding the Patient’s health condition, symptoms, and prognosis, as well as

     the medical care, treatments and medications provided to the Patient while she

     was hospitalized at the Hospital, the Hospital refers to the Patient’s Medical

     Record. All allegations of fault or negligence alleged, directly or implied,

     against the Hospital in Paragraph 28 of the Complaint are hereby denied.

  29. As to any allegations of Paragraph number 29 of the Complaint which are

     addressed to another party, such allegations do not require a responsive




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     pleading from the Appearing Party. The remainder of the allegations of

     Paragraph number 29 of the Complaint are neither denied, nor admitted, for

     lack of specific knowledge and information sufficient to form a belief about

     the truth of all the matters pled therein and/or are denied as drafted.

     Notwithstanding the foregoing allegation, it is alleged in the affirmative that

     regarding the Patient’s health condition, symptoms, and prognosis, as well as

     the medical care, treatments and medications provided to the Patient while she

     was hospitalized at the Hospital, the Hospital refers to the Patient’s Medical

     Record. All allegations of fault or negligence alleged, directly or implied,

     against the Hospital in Paragraph 29 of the Complaint are hereby denied.

  30. As to any allegations of Paragraph number 30 of the Complaint which are

     addressed to another party, such allegations do not require a responsive

     pleading from the Appearing Party. The remainder of the allegations of

     Paragraph number 30 of the Complaint are neither denied, nor admitted, for

     lack of specific knowledge and information sufficient to form a belief about

     the truth of all the matters pled therein and/or are denied as drafted.

     Notwithstanding the foregoing allegation, it is alleged in the affirmative that

     regarding the Patient’s health condition, symptoms, and prognosis, as well as

     the medical care, treatments and medications provided to the Patient while she

     was hospitalized at the Hospital, the Hospital refers to the Patient’s Medical

     Record. All allegations of fault or negligence alleged, directly or implied,

     against the Hospital in Paragraph 30 of the Complaint are hereby denied.

  31. As to any allegations of Paragraph number 31 of the Complaint which are




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     addressed to another party or parties, such allegations do not require a

     responsive pleading from the Appearing Party. The remainder of the

     allegations of Paragraph number 31 of the Complaint are neither denied, nor

     admitted, for lack of specific knowledge and information sufficient to form a

     belief about the truth of all the matters pled therein and/or are denied as

     drafted. Notwithstanding the foregoing allegation, it is alleged in the

     affirmative that regarding the Patient’s health condition, symptoms, and

     prognosis, as well as the medical care, treatments and medications provided to

     the Patient while she was hospitalized at the Hospital, the Hospital refers to

     the Patient’s Medical Record. All allegations of fault or negligence alleged,

     directly or implied, against the Hospital in Paragraph 31 of the Complaint are

     hereby denied.

  32. As to any allegations of Paragraph number 32 of the Complaint which are

     addressed to another party or parties, such allegations do not require a

     responsive pleading from the Appearing Party. The remainder of the

     allegations of Paragraph number 32 of the Complaint are neither denied, nor

     admitted, for lack of specific knowledge and information sufficient to form a

     belief about the truth of all the matters pled therein and/or are denied as

     drafted. Notwithstanding the foregoing allegation, it is alleged in the

     affirmative that regarding the Patient’s health condition, symptoms, and

     prognosis, as well as the medical care, treatments and medications provided to

     the Patient while she was hospitalized at the Hospital, the Hospital refers to

     the Patient’s Medical Record.




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  33. As to the allegations in Paragraph number 33 of the Complaint regarding any

     claims that standards of medical care were ignored, the standard of care was

     violated and/or what the appropriate standard of care requires, these

     allegations do not require a responsive pleading from the Appearing Party

     since they refer to questions of law. As to any allegations of Paragraph

     number 33 of the Complaint which are addressed to another party or parties,

     such allegations do not require a responsive pleading from the Appearing

     Party. The remainder of the allegations of Paragraph number 33 of the

     Complaint are neither denied, nor admitted, for lack of specific knowledge

     and information sufficient to form a belief about the truth of all the matters

     pled therein and/or are denied as drafted. Notwithstanding the foregoing

     allegation, it is alleged in the affirmative that regarding the Patient’s health

     condition, symptoms, and prognosis, as well as the medical care, treatments

     and medications provided to the Patient while she was hospitalized at the

     Hospital, the Hospital refers to the Patient’s Medical Record. All allegations

     of fault or negligence alleged, directly or implied, against the Hospital in

     Paragraph 33 of the Complaint are hereby denied.

  34. As to the allegations in Paragraph number 34 of the Complaint regarding any

     claim of negligence or of causation, these allegations do not require a

     responsive pleading from the Appearing Party since they refer to questions of

     law. As to any allegations of Paragraph number 34 of the Complaint which

     are addressed to another party or parties, such allegations do not require a

     responsive pleading from the Appearing Party. The remainder of the




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     allegations of Paragraph number 34 of the Complaint are neither denied, nor

     admitted, for lack of specific knowledge and information sufficient to form a

     belief about the truth of all the matters pled therein and/or are denied as

     drafted. Notwithstanding the foregoing allegation, it is alleged in the

     affirmative that regarding the Patient’s health condition, symptoms, and

     prognosis, as well as the medical care, treatments and medications provided to

     the Patient while she was hospitalized at the Hospital, the Hospital refers to

     the Patient’s Medical Record. All allegations of fault or negligence alleged,

     directly or implied, against the Hospital in Paragraph 34 of the Complaint are

     hereby denied.

  35. As to the allegations in Paragraph number 35 of the Complaint regarding any

     standard of medical care as to correct or indicated surgical procedures or

     standard of care as to qualifications for urologists, these allegations do not

     require a responsive pleading from the Appearing Party since they refer to

     questions of law. As to any allegations of Paragraph number 35 of the

     Complaint which are addressed to another party or parties, such allegations do

     not require a responsive pleading from the Appearing Party. The remainder of

     the allegations of Paragraph number 35 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein. Notwithstanding

     the foregoing allegation, it is alleged in the affirmative that regarding the

     Patient’s health condition, symptoms, and prognosis, as well as the medical

     care, treatments and medications provided to the Patient while she was




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     hospitalized at the Hospital, the Hospital refers to the Patient’s Medical

     Record. All allegations of fault or negligence alleged, directly or implied,

     against the Hospital in Paragraph 35 of the Complaint are hereby denied.

  36. The allegations of Paragraph number 36 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein. Notwithstanding

     the foregoing allegation, it is alleged in the affirmative that regarding the

     Patient’s health condition, symptoms, and prognosis, as well as the medical

     care, treatments and medications provided to the Patient while she was

     hospitalized at the Hospital, the Hospital refers to the Patient’s Medical

     Record. All allegations of fault or negligence alleged, directly or implied,

     against the Hospital in Paragraph 35 of the Complaint are hereby denied.

  37. As to any allegations of Paragraph number 37 of the Complaint which are

     addressed to another party, such allegations do not require a responsive

     pleading from the Appearing Party. The remainder of the allegations of

     Paragraph number 37 of the Complaint are neither denied, nor admitted, for

     lack of specific knowledge and information sufficient to form a belief about

     the truth of all the matters pled therein. Notwithstanding the foregoing

     allegation, it is alleged in the affirmative that regarding the Patient’s health

     condition, symptoms, and prognosis, as well as the medical care, treatments

     and medications provided to the Patient while she was hospitalized at the

     Hospital, the Hospital refers to the Patient’s Medical Record. All allegations

     of fault or negligence alleged, directly or implied, against the Hospital in




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     Paragraph 37 of the Complaint are hereby denied.

  38. The allegations of Paragraph number 38 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein and/or are denied

     as drafted.

  39. The allegations of Paragraph number 39 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein and/or are denied

     as drafted. Notwithstanding the foregoing allegation, it is alleged in the

     affirmative that regarding the Patient’s health condition, symptoms, and

     prognosis, as well as the medical care, treatments and medications provided to

     the Patient while she was hospitalized at the Hospital, the Hospital refers to

     the Patient’s Medical Record. All allegations of fault or negligence alleged,

     directly or implied, against the Hospital in Paragraph 39 of the Complaint are

     hereby denied.

  40. As to any allegations of Paragraph number 40 of the Complaint which are

     addressed to another party or parties, such allegations do not require a

     responsive pleading from the Appearing Party. The remainder of the

     allegations of Paragraph number 40 of the Complaint are neither denied, nor

     admitted, for lack of specific knowledge and information sufficient to form a

     belief about the truth of all the matters pled therein and/or are denied as

     drafted. Notwithstanding the foregoing allegation, it is alleged in the

     affirmative that regarding the Patient’s health condition, symptoms, and




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     prognosis, as well as the medical care, treatments and medications provided to

     the Patient while she was hospitalized at the Hospital, the Hospital refers to

     the Patient’s Medical Record. All allegations of fault or negligence alleged,

     directly or implied, against the Hospital in Paragraph 40 of the Complaint are

     hereby denied.

  41. As to any allegations of Paragraph number 41 of the Complaint which are

     addressed to another party or parties, such allegations do not require a

     responsive pleading from the Appearing Party. The remainder of the

     allegations of Paragraph number 41 of the Complaint are neither denied, nor

     admitted, for lack of specific knowledge and information sufficient to form a

     belief about the truth of all the matters pled therein. Notwithstanding the

     foregoing allegation, it is accepted that the Patient was discharged from the

     Hospital on December 13, 2019 by her private physician Dr. Baez, and it is

     alleged in the affirmative that regarding the Patient’s health condition,

     symptoms, and prognosis, as well as the medical care, treatments and

     medications provided to the Patient while she was hospitalized at the Hospital,

     the Hospital refers to the Patient’s Medical Record. All allegations of fault or

     negligence alleged, directly or implied, against the Hospital in Paragraph 41

     of the Complaint are hereby denied.

  42. The allegations of Paragraph number 42 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein and/or are denied

     as drafted.




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  43. The allegations of Paragraph number 43 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein. Notwithstanding

     the foregoing allegation, it is accepted that Patient was admitted to the

     Hospital on January 7, 2020, and it is alleged in the affirmative that regarding

     the Patient’s health condition, symptoms, and prognosis, as well as the

     medical care, treatments and medications provided to the Patient while she

     was hospitalized at the Hospital, the Hospital refers to the Patient’s Medical

     Record. All allegations of fault or negligence alleged, directly or implied,

     against the Hospital in Paragraph 43 of the Complaint are hereby denied.

  44. The allegations of Paragraph number 44 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein. Notwithstanding

     the foregoing allegation, it is alleged in the affirmative that regarding the

     Patient’s health condition, symptoms, and prognosis, as well as the medical

     care, treatments and medications provided to the Patient while she was

     hospitalized at the Hospital, the Hospital refers to the Patient’s Medical

     Record. All allegations of fault or negligence alleged, directly or implied,

     against the Hospital in Paragraph 44 of the Complaint are hereby denied.

  45. The allegations of Paragraph number 45 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein and/or are denied

     as drafted. Notwithstanding the foregoing allegation, it is alleged in the




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     affirmative that regarding the Patient’s health condition, symptoms, and

     prognosis, as well as the medical care, treatments and medications provided to

     the Patient while she was hospitalized at the Hospital, the Hospital refers to

     the Patient’s Medical Record.

  46. The allegations of Paragraph number 46 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein and/or are denied

     as drafted. Notwithstanding the foregoing allegation, it is accepted that Patient

     was discharged from the Hospital on January 12, 2020, and it is alleged in the

     affirmative that regarding the Patient’s health condition, symptoms, and

     prognosis, as well as the medical care, treatments and medications provided to

     the Patient while she was hospitalized at the Hospital, the Hospital refers to

     the Patient’s Medical Record. All allegations of fault or negligence alleged,

     directly or implied, against the Hospital in Paragraph 46 of the Complaint are

     hereby denied.

  47. The allegations of Paragraph number 47 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein. All allegations of

     fault or negligence alleged, directly or implied, against the Hospital in

     Paragraph 47 of the Complaint are hereby denied.

  48. As to any allegations of Paragraph number 48 of the Complaint which are

     addressed to another party or parties, such allegations do not require a

     responsive pleading from the Appearing Party. The remainder of the




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     allegations of Paragraph number 48 of the Complaint are neither denied, nor

     admitted, for lack of specific knowledge and information sufficient to form a

     belief about the truth of all the matters pled therein.

  49. As to any allegations of Paragraph number 49 of the Complaint which are

     addressed to another party, such allegations do not require a responsive

     pleading from the Appearing Party. The remainder of the allegations of

     Paragraph number 49 of the Complaint are neither denied, nor admitted, for

     lack of specific knowledge and information sufficient to form a belief about

     the truth of all the matters pled therein.

  50. As to any allegations of Paragraph number 50 of the Complaint which are

     addressed to another party, such allegations do not require a responsive

     pleading from the Appearing Party. The remainder of the allegations of

     Paragraph number 50 of the Complaint are neither denied, nor admitted, for

     lack of specific knowledge and information sufficient to form a belief about

     the truth of all the matters pled therein. All allegations of fault or negligence

     alleged, directly or implied, against the Hospital in Paragraph 50 of the

     Complaint are hereby denied.

  51. The allegations of Paragraph number 51 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  52. As to any allegations of Paragraph number 52 of the Complaint which are

     addressed to another party, such allegations do not require a responsive

     pleading from the Appearing Party. The remainder of the allegations of




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     Paragraph number 52 of the Complaint are neither denied, nor admitted, for

     lack of specific knowledge and information sufficient to form a belief about

     the truth of all the matters pled therein.

  53. The allegations of Paragraph number 53 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein. All allegations of

     fault or negligence alleged, directly or implied, against the Hospital in

     Paragraph 53 of the Complaint are hereby denied.

  54. As to any allegations of Paragraph number 54 of the Complaint which are

     addressed to another party, such allegations do not require a responsive

     pleading from the Appearing Party. The remainder of the allegations of

     Paragraph number 54 of the Complaint are neither denied, nor admitted, for

     lack of specific knowledge and information sufficient to form a belief about

     the truth of all the matters pled therein. All allegations of fault or negligence

     alleged, directly or implied, against the Hospital in Paragraph 54 of the

     Complaint are hereby denied.

  55. The allegations of Paragraph number 55 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein and/or are denied

     as drafted. All allegations of fault or negligence alleged, directly or implied,

     against the Hospital in Paragraph 55 of the Complaint are hereby denied.

  56. The allegations of Paragraph number 56 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to




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     form a belief about the truth of all the matters pled therein.

  57. The allegations of Paragraph number 57 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  58. The allegations of Paragraph number 58 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  59. The allegations of Paragraph number 59 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein. All allegations of

     fault or negligence alleged, directly or implied, against the Hospital in

     Paragraph 56 of the Complaint are hereby denied.

  60. The allegations of Paragraph number 60 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein and/or are denied

     as drafted.

  61. The allegations of Paragraph number 61 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein. All allegations of

     fault or negligence alleged, directly or implied, against the Hospital in

     Paragraph 61 of the Complaint are hereby denied.

  62. The allegations of Paragraph number 62 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to




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     form a belief about the truth of all the matters pled therein.

  63. The allegations of Paragraph number 63 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  64. The allegations of Paragraph number 64 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  65. The allegations of Paragraph number 65 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein. All allegations of

     fault or negligence alleged, directly or implied, against the Hospital in

     Paragraph 65 of the Complaint are hereby denied.


      CAUSE OF ACTION: MEDICAL-HOSPITAL NEGLIGENCE AND
                    MEDICAL MALPRACTICE


  66. The allegations of Paragraph number 66 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 66 of the Complaint are hereby denied.

  67. The allegations of Paragraph number 67 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 67 of the Complaint are hereby denied.

  68. The allegations of Paragraph number 68 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 68 of the Complaint are hereby denied.


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  69. The allegations of Paragraph number 69 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     another party. Notwithstanding the foregoing allegation, all allegations of

     fault or negligence alleged, directly or implied, against the Hospital in

     Paragraph 69 of the Complaint are hereby denied.

  70. The allegations of Paragraph number 70 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     another party. Notwithstanding the foregoing allegation, all allegations of

     fault or negligence alleged, directly or implied, against the Hospital in

     Paragraph 70 of the Complaint are hereby denied.

  71. The allegations of Paragraph number 71 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     another party. Notwithstanding the foregoing allegation, all allegations of

     fault or negligence alleged, directly or implied, against the Hospital in

     Paragraph 71 of the Complaint are hereby denied.

  72. The allegations of Paragraph number 72 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     another party. Notwithstanding the foregoing allegation, all allegations of

     fault or negligence alleged, directly or implied, against the Hospital in

     Paragraph 72 of the Complaint are hereby denied.

  73. The allegations of Paragraph number 73 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     another party. Notwithstanding the foregoing allegation, all allegations of




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     fault or negligence alleged, directly or implied, against the Hospital in

     Paragraph 73 of the Complaint are hereby denied.

  74. The allegations of Paragraph number 74 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     other parties. Notwithstanding the foregoing allegation, all allegations of fault

     or negligence alleged, directly or implied, against the Hospital in Paragraph

     74 of the Complaint are hereby denied.

  75. The allegations of Paragraph number 75 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     other parties. Notwithstanding the foregoing allegation, all allegations of fault

     or negligence alleged, directly or implied, against the Hospital in Paragraph

     75 of the Complaint are hereby denied.

  76. The allegations of Paragraph number 76 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     other parties. Notwithstanding the foregoing allegation, all allegations of fault

     or negligence alleged, directly or implied, against the Hospital in Paragraph

     76 of the Complaint are hereby denied.

  77. The allegations of Paragraph number 77 of the Complaint do not require a

     responsive pleading from the Appearing Party since they are addressed to

     actions taken by other parties. Notwithstanding the foregoing allegation, all

     allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 77 of the Complaint are hereby denied.

  78. The allegations of Paragraph number 78 of the Complaint do not require a




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     responsive pleading from the Appearing Party since they are addressed to

     another party. Notwithstanding the foregoing allegation, all allegations of

     fault or negligence alleged, directly or implied, against the Hospital in

     Paragraph 78 of the Complaint are hereby denied.

  79. The allegations of Paragraph number 79 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 79 of the Complaint are hereby denied.

  80. The allegations of Paragraph number 80 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 80 of the Complaint are hereby denied.

  81. The allegations of Paragraph number 81 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 81 of the Complaint are hereby denied.

  82. The allegations of Paragraph number 82 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 82 of the Complaint are hereby denied.

  83. The allegations of Paragraph number 83 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 83 of the Complaint are hereby denied.

  84. The allegations of Paragraph number 84 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 84 of the Complaint are hereby denied.

  85. The allegations of Paragraph number 85 of the Complaint do not require a




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     responsive pleading from the Appearing Party since they are addressed to

     other parties. Notwithstanding the foregoing allegation, all allegations of fault

     or negligence alleged, directly or implied, against the Hospital in Paragraph

     85 of the Complaint are hereby denied.

  86. The allegations of Paragraph number 86 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 86 of the Complaint are hereby denied.


                                     DAMAGES
  87. The allegations of Paragraph number 87 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 87 of the Complaint are hereby denied.

  88. The allegations of Paragraph number 88 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 88 of the Complaint are hereby denied.

  89. The allegations of Paragraph number 89 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 89 of the Complaint are hereby denied.

  90. The allegations of Paragraph number 90 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 90 of the Complaint are hereby denied.

  91. The allegations of Paragraph number 91 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 91 of the Complaint are hereby denied.



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  92. The allegations of Paragraph number 92 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 92 of the Complaint are hereby denied.

  93. The allegations of Paragraph number 93 of the Complaint are hereby denied.

     All allegations of fault or negligence alleged, directly or implied, against the

     Hospital in Paragraph 93 of the Complaint are hereby denied.

  94. The allegations of the first sentence of Paragraph number 94 of the Complaint

     are hereby denied. The allegations of the second sentence of Paragraph

     number 94 of the Complaint are neither denied, nor admitted, for lack of

     specific knowledge and information sufficient to form a belief about the truth

     of all the matters pled therein.

  95. The allegations of Paragraph number 95 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  96. The allegations of the first and third sentences of Paragraph number 96 of the

     Complaint are hereby denied. The allegations of the second sentence of

     Paragraph number 96 of the Complaint are neither denied, nor admitted, for

     lack of specific knowledge and information sufficient to form a belief about

     the truth of all the matters pled therein.       Notwithstanding the foregoing

     allegation, it is alleged in the affirmative that regarding the Patient’s health

     condition, symptoms, and prognosis, as well as the medical care, treatments

     and medications provided to the Patient while she was hospitalized at the

     Hospital, the Hospital refers to the Patient’s Medical Record. The allegations




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     of the fourth sentence of Paragraph number 96 of the Complaint are neither

     denied, nor admitted, for lack of specific knowledge and information

     sufficient to form a belief about the truth of all the matters pled therein.

  97. The allegations of Paragraph number 97 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  98. The allegations of Paragraph number 98 of the Complaint are neither denied,

     nor admitted, for lack of specific knowledge and information sufficient to

     form a belief about the truth of all the matters pled therein.

  99. The allegations of the first and fifth sentences of Paragraph number 99 of the

     Complaint are hereby denied. The allegations of the second, third and fourth

     sentences of Paragraph number 99 of the Complaint are neither denied, nor

     admitted, for lack of specific knowledge and information sufficient to form a

     belief about the truth of all the matters pled therein.

  100.   The allegations of the first and sixth sentences of Paragraph number 100

     of the Complaint are hereby denied. The allegations of the second, third,

     fourth and fifth sentences of Paragraph number 100 of the Complaint are

     neither denied, nor admitted, for lack of specific knowledge and information

     sufficient to form a belief about the truth of all the matters pled therein.

  101.   The allegations of Paragraph number 101 of the Complaint are hereby

     denied.

  102.   The allegations of Paragraph number 102 of the Complaint are hereby

     denied.




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          103.   The allegations of Paragraph number 103 of the Complaint are hereby

             denied.

          104.   The allegations of Paragraph number 104 of the Complaint are hereby

             denied.

          105.   The second to last sentence of the Complaint prior to the

             RESPECTFULLY SUBMITTED language is the WHEREFORE clause

             which consists of statements and/or conclusions as to matters of law as to

             requested remedies and determinations from the Court and Plaintiffs’

             demands for costs, damages, interest and attorneys’ fees, and as such does not

             require a responsive pleading. Should a responsive answer be required, such

             allegations are denied.


                               AFFIRMATIVE DEFENSES


          1. The Complaint, as alleged, fails to state a claim upon which relief may be

granted for Plaintiffs and against the Hospital.


          2. All of the claims which are the object of the Complaint are totally and/or

partially time barred and/or the doctrine of laches applies. Plaintiffs failed to toll the

applicable statute of limitations and, therefore, the claim object of the Complaint is time

barred.


          3. The medico-hospital care, assistance and treatment provided and received at all

pertinent times by the Patient from the Hospital’s Nurses and paramedical personnel

while she was hospitalized at the Hospital, fully complied with the generally accepted

standards recognized by the medical profession under the particular circumstances of this



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case and fall within the accepted standards of reasonable and prudent nursing care and

practice or fall within the accepted standards of reasonable and prudent paramedical care

and practice. The Hospital personnel that intervened and treated the Patient while she was

hospitalized at the Hospital, did not commit any negligent act or omission in servicing

and treating her.


       4. The Hospital’s Nurses and paramedical personnel did afford to the patient all

the hospital services and medical treatments then required by her medical and health

condition.


       5.         The Hospital did afford to the Patient an appropriate and adequate medical

screening while she was at the Hospital and the Hospital rendered to the Patient all the

hospital services then required by her medical condition.


       6. In treating and attending the Patient, the Hospital complied with all applicable

medical and nursing practices standards of medical/nursing/hospital care required in

Puerto Rico and the United States, and always exercised the degree of care required by

the best practices of medicine and nursing.


       7. At all times relevant to the Complaint, the Hospital’s Nurses and paramedical

personnel acted diligently, prudently, and reasonably and did not incur in negligent acts

or omissions as those which are alleged in the Complaint.


       8. At all times relevant to the Complaint, the medical and nursing treatment

afforded by the Hospital to the Patient, was suited to the state of knowledge and science

prevalent    in    medicine,   satisfying   all    generally   accepted   exigencies   by   the

medical/nursing/hospital establishment for the kind of health condition presented by the


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Patient at the moment that medical, nursing and hospitalization care was provided to her.


       9. At all times relevant to the Complaint, the Hospital provided to the Patient a

reasonable, sound, and fair medical/nursing/hospitalization treatment, assistance, care and

service. The medical and nursing treatment, and the hospitalization services afforded by

the Hospital to the Patient, while she was hospitalized at the Hospital, are protected by a

presumption of correctness to the effect that a reasonable standard of care was used and

complied with, and that the medical/nursing/hospital treatment afforded to her was

adequate, it being the Plaintiffs’ burden to contradict that presumption through the

presentation of direct evidence of negligence and causality through expert witness

testimony.


       10.    At all times relevant to the Complaint, regarding both diagnosis and

treatment, the Hospital’s Nurses and paramedical personnel that attended and/or treated

the Patient while she was hospitalized at the Hospital, exhibited good professional

judgment, reasonably accepted by the medical profession, and applicable hospitalization,

nursing and paramedical practices standards, so that any error in judgment or in

treatment, if the same occurred, and, which is hereby denied, does not constitute a valid

basis for an action in damages.


       11. In the alternative, if there was negligence in this case, which is specifically

denied, the same was incurred by one or more or any of the remaining co-defendants

and/or by third parties outside the knowledge and immediate control of the Hospital, for

whose actions the Hospital is not responsible to the Plaintiffs as a matter of law.


       12.      The Hospital is not liable for the malpractice acts or omissions of non-



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employee physicians that are entitled with privileges to use the facilities of the Hospital

to hospitalize, treat or lodge their private patients.


        13.     The Hospital did not assign the Patient to the non-employee physicians

who allegedly committed the malpractice acts or omissions on which Plaintiffs base their

Complaint, and, therefore, the doctrine of “apparent authority” is inapplicable to this

case.


        14.     The Patient was the private patient of the non-employee physicians that

admitted her into the Hospital.


        15.     The Patient was admitted to the Hospital at the request of her private


Physician(s); and, therefore, originally, and foremost, she entrusted her medical care and

treatment to her private physician(s), not to the Hospital.


        16. There is no causal relationship between the negligent acts or omissions

alleged to have been incurred by the Hospital, its Nurses and/or its paramedical

personnel, and the damages allegedly suffered by the Patient or the by the other plaintiffs

as alleged in the Complaint.


        17. The Hospital is not responsible for the alleged negligent acts or omissions

committed by the physicians who attended and/or treated the Patient while she was

hospitalized at the Hospital, who are not its employees.


        18.     The co-defendant physicians that treated the patient during her

hospitalizations at the Hospital, are highly qualified physicians in their particular

professional fields, all of them have privileges to hospitalize their private patients at the


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Hospital and all of them are private practitioners in their fields of medicine and

independent contractors. At all pertinent moments to the Complaint, none of them were

employees of the Hospital; nor did the Hospital assign them to the Patient. Those

physicians were the persons that determined which medical treatment to apply or afford

to the Patient while she was hospitalized at the Hospital.


        19. The Hospital neither had control over the treatment afforded by the described

physicians to the Patient, nor their professional method of work.


        20. The damages claimed by the Plaintiffs have been grossly exaggerated and in

no way represent a fair and reasonable economic value of the alleged damages that the

Plaintiffs may have suffered, if any.


        21. The amount of the redress of damages alleged and claimed in the Complaint,

is contrary to applicable Puerto Rico laws and jurisprudence guidelines.


        22.    The redress of damages alleged and claimed in the Complaint, are the

consequence of the acts or omissions of third persons, for which the Hospital is not

responsible.


        23. The Hospital is not an insurer of the health and well-being of all the patients

that use its facilities.


        24.      The practice of medicine is not an exact science and doctors and hospitals

cannot give a warranty that an operation or other medical treatment will be successful.


        25.      The Plaintiffs failed to mitigate their alleged damages.


        26.      The doctrines of comparative negligence or contributory negligence are of


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application to the instant case.


       27.    The alleged damages suffered by the Plaintiffs, are the result and/or the

natural and expected consequence, of the many pre-existing medical and health

conditions of the Patient.


       28. The defendants are not joint tortfeasors. The Hospital is neither jointly, nor

severally liable, with the other defendants for Plaintiffs’ alleged damages.


       29. In the alternative, should negligence be established, if any, there were one or

more intervening causes that would release the Hospital of any liability in this case.


       30.    The Honorable Court lacks subject matter jurisdiction to entertain the

Complaint.


       31.     The Complaint fails to join necessary and indispensable parties.


       32.     Complete Diversity is not present in this litigation.


       33.     The Complaint, as alleged, fails to state sufficient factual and legal

grounds to entitle the Plaintiffs to a remedy on their behalf and against the Hospital.


       34.     The person who is responsible for explaining to the Patient the nature of

the treatment which will be provided to the Patient or the surgical procedure which will

be performed on the Patient and obtaining the Patient’s informed consent to such

treatment or surgical procedure is the physician or surgeon who will be providing the

treatment to or performing the surgical procedure on the Patient and not the Hospital.


       35.     The Hospital is not liable for the failure of a physician or surgeon who will



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be providing the treatment to or performing a surgical procedure on the Patient to obtain

a proper informed consent from a Patient.


       36.     The Hospital reserves its right to amend the foregoing answers and

affirmative defenses and/or to assert additional affirmative defenses depending on

additional information that may arise through discovery and/or investigation. Likewise,

the Hospital reserves its right to file any counter claims, cross claims, or third-party

complaints that it may deem appropriate.


       37.    All conclusions of law alleged in the Complaint are hereby denied as

applicable to this case.


       38. Any allegations alleged in the Complaint, that have not been specifically

admitted or expressly and/or affirmatively accepted herein must be considered denied.


       39. All the affirmative defenses set forth in this Answer to the Complaint are duly

supported by the facts of this case, as they arise from the Patient’s Medical Record and

the investigations conducted thus far. In addition, all the foregoing affirmative defenses

are being asserted in good faith and in accordance with the applicable law of Puerto Rico.


       Wherefore, co-defendant Bayamón Medical Center Corp., d/b/a the Bayamón

Medical Center, hereby respectfully requests to this Honorable Court to dismiss the

Complaint in its entirety and award it costs, expenses, attorneys’ fees and such other

further relief as the Honorable Court deems just and appropriate.


        WE HEREBY CERTIFY that on this same date this document was filed
electronically through the CM/ECF system which will send notification to the parties to
their registered email addresses.



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  RESPECTFULLY SUBMITTED

  In San Juan, Puerto Rico this March 24, 2022.

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